Case 1:05-cv-01091-.]DT-STA Document 22 Filed 06/15/05 Page 1 of 3 Page|D 4

 

IN THE UNITED STATES DISTRICT COURT /</;"` w _
FOR THE WESTERN DISTRICT OF TENNESSEE Q§` / _ ,Z
EASTERN DIvlsIoN _ “*’¢:‘// "' y /~

HUBERT RAY MATTHEWS, SR., )
as PoWer of Attorney of Hubert Ray )
Matthews, Jr., an incapacitated person, )
)
Plaintiff, )
)

VS. ) No. 05-lO9l-T-An
)
KINDRED HEALTHCARE, INC., )
et al., )
)
Defendants. )

 

ORDER GRANTING MOTIONS TO STAY

 

Both parties have filed motions to stay the action [Docket #s 17, 19]. Plaintiff moves
the court to stay the action until the motion to remand has been decided, While Defendant
has moved to stay the action pending alternate dispute resolution For good cause shown,
the motions to stay are GRANTED. The action Will be stayed sixty (60) days to allow
alternate dispute resolution to proceed. The parties are directed to notify the court if the
matter is resolved prior to that time. At the end of the sixty-day period, if the matter has not

been resolved, Defendant Will be allowed fifteen (15) days in Which to respond to Plaintiff’s

This document entered on the docket she lr%o pllancs
with Rule 58 and,'or,?Q (a) FRCP on

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motion to remand.

IT IS SO ORDERED.

/J.SV~M

JA S D. TODD
TED STATES DISTRICT JUDGE

/(7/§}/10\1>5’~07515"

DATE

 

   

    
 

 

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Notice of Distribution

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Honorable .1 ames Todd
US DISTRICT COURT

